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1                              UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3     ROBERTO DURAND,                                       Case No. 3:22-cv-00328-MMD-CLB
4                                             Plaintiff     ORDER DENYING APPLICATIONS
                                                                WITHOUT PREJUDICE
5            v.
                                                                  (ECF Nos. 1, 3, 5, 6, 7, 8)
6     MUARO, et al.,
7                                        Defendants
8
9    I.     DISCUSSION

10          On July 22, 2022, Roberto Durand, an inmate in the custody of the Nevada

11   Department of Corrections, submitted a civil-rights complaint under 42 U.S.C. § 1983 and

12   filed an application to proceed in forma pauperis. (ECF Nos. 1-1, 1). Durand’s application

13   to proceed in forma pauperis is incomplete because he did not submit an inmate

14   account statement for the previous six-month period with his application. Durand

15   has submitted five additional applications to proceed in forma pauperis, but they are all

16   incomplete because none includes an inmate account statement for the previous six-

17   month period. (ECF Nos. 3, 5, 6, 7, 8).

18          Under 28 U.S.C. § 1915(a)(2) and Nevada Local Special Rule 1-2, an inmate

19   seeking to begin a civil action in this Court may apply to proceed in forma pauperis in

20   order to file the civil action without prepaying the full $402 filing fee. To apply for in forma

21   pauperis status, the inmate must submit all three of the following documents to the Court:

22   (1) a completed Application to Proceed in Forma Pauperis for Inmate, which is pages

23   1–3 of the Court’s approved form, with the inmate’s two signatures on page 3; (2) a

24   completed Financial Certificate, which is page 4 of the Court’s approved form, that is

25   properly signed by both the inmate and a prison or jail official; and (3) a copy of the

26   inmate’s prison or jail trust fund account statement for the previous six-month

27   period. As explained above, Durand’s six applications to proceed in forma pauperis are

28   all incomplete because none of them includes an inmate account statement for the
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1    previous six-month period. The Court will therefore deny Durand’s applications to proceed
2    in forma pauperis without prejudice to his ability to either pay the filing fee or file a new
3    fully complete application to proceed in forma pauperis. And the Court will grant Durand
4    a 60-day extension to do so.
5    II.    CONCLUSION
6           It is therefore ordered that the applications to proceed in forma pauperis (ECF
7    Nos. 1, 3, 5, 6, 7, 8) are denied without prejudice.
8           It is further ordered that Durand has until December 5, 2022 to either pay the full
9    $402 filing fee or file a new fully complete application to proceed in forma pauperis with
10   all three required documents: (1) a completed application with the inmate’s two signatures
11   on page 3; (2) a completed financial certificate that is signed both by the inmate and the
12   prison official; and (3) a copy of the inmate’s trust account statement for the past six-
13   month period.
14          Durand is cautioned that this action will be subject to dismissal without prejudice if
15   he fails to timely comply with this order.
16          The Clerk of the Court is directed to send plaintiff Roberto Durand the approved
17   form application to proceed in forma pauperis for inmate and instructions for the same
18   and retain the complaint (ECF No. 1-1) but not file it at this time. 1
19          DATED: This 6th day of October, 2022.
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                                                  ___________________________________
21                                                UNITED STATES MAGISTRATE JUDGE
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            1   The Court notes that Durand has filed a first-amended complaint. (ECF No. 9).

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